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                                                                                    11/09/2020
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 THE NEW Y-CAPP, INC., ET AL.,

                                   Plaintiffs,
                                                               1:18-cv-03223 (ALC)
                       -against-
                                                               Order
 ARCH CAPITAL FUNDING, LLC, ET AL.,

                                   Defendants.

ANDREW L. CARTER, JR., United States District Judge:

         Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff’s

voluntary dismissal of the above-captioned action, with prejudice and without costs, as to

Defendant Tsvi H. Davis, ECF No. 142, is GRANTED.

SO ORDERED.

Dated:          November 9, 2020
                New York, New York                    _______________________________
                                                       HON. ANDREW L. CARTER, JR.
                                                          United States District Judge




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